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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

  UNITED STATES OF AMERICA

  v.                                     CASE NO. 6:18-cr-70-Orl-41TBS

  MARC MALACASO


                                  STATUS REPORT

        The United States of America, in accordance with this Court’s Order

  dated August 23, 2018 (Doc. 30), hereby provides the following report of the

  Defendant’s progress on pretrial diversion.

        Since beginning participation in the pretrial diversion program, the

  Defendant has paid $10,245 of the $14,245 restitution amount in accordance

  with the terms of the pretrial diversion agreement. The Defendant has further

  completed 48 of the required 150 hours of community service required by his

  pretrial diversion agreement.
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        Further, all of the Defendant’s drug screens have been negative, and the

  Defendant has complied with all other terms of the diversion agreement.

                                        Respectfully submitted,

                                        MARIA CHAPA LOPEZ
                                        United States Attorney

                                   By: /s/Vincent S. Chiu
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  United States v. Marc Malacaso                  Case No. 6:18-cr-70-Orl-41TBS

                          CERTIFICATE OF SERVICE

         I hereby certify that on March 1, 2019, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to the following:

         Vincent A. Citro, Esq.


                                            /s/Vincent S. Chiu
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